                    Case 20-22939            Doc 1       Filed 11/23/20 Entered 11/23/20 15:42:55                              Desc Main
                                                           Document     Page 1 of 23

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                PF Funding, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  565 Highway 35
                                  Suite 10
                                  Red Bank, NJ 07701
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Monmouth                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 20-22939                Doc 1        Filed 11/23/20 Entered 11/23/20 15:42:55                                  Desc Main
                                                                Document     Page 2 of 23
Debtor    PF Funding, LLC                                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5222

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   PF Funding, LLC                                                                           Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    PF Funding, LLC                                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 23, 2020
                                                  MM / DD / YYYY


                             X   /s/ Vincent Galano, Jr.                                                  Vincent Galano, Jr.
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Director




18. Signature of attorney    X   /s/ Andrew J. Kelly                                                       Date November 23, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Andrew J. Kelly
                                 Printed name

                                 The Kelly Firm, P.C.
                                 Firm name

                                 1011 Highway 71
                                 Suite 200
                                 Spring Lake, NJ 07762
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     732-449-0525                  Email address      akelly@kbtlaw.com

                                 032191991 NJ
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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Debtor     PF Funding, LLC                                                                  Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                   Chapter      7
                                                                                                                        Check if this an
                                                                                                                        amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                     Pending Bankruptcy Cases Attachment



Debtor     Fairview Funding, LLC                                                   Relationship to you
District   New Jersey                                 When     7/07/20             Case number, if known             20-18314-CMG
Debtor     Vincent Galano, Jr.                                                     Relationship to you               Owner
District   New Jersey                                 When     7/07/20             Case number, if known             20-18344-CMG




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 5
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 Fill in this information to identify the case:

 Debtor name         PF Funding, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          November 23, 2020                       X /s/ Vincent Galano, Jr.
                                                                       Signature of individual signing on behalf of debtor

                                                                       Vincent Galano, Jr.
                                                                       Printed name

                                                                       Managing Director
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                   Case 20-22939                            Doc 1               Filed 11/23/20 Entered 11/23/20 15:42:55                                                           Desc Main
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 Fill in this information to identify the case:

 Debtor name            PF Funding, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           789,306.52

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           789,306.52


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       62,945,188.94


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           443,395.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         63,388,583.94




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         PF Funding, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     PNC Accounting Ending 1471                              Checking                        1471                                  $162,225.09




           3.2.     PNC Account Ending 9044                                 Checking                        9044                                    $81,109.42



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                   $243,334.51
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
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 Debtor         PF Funding, LLC                                                                   Case number (If known)
                Name


            11a. 90 days old or less:                                1,543.00   -                                0.00 = ....               $1,543.00
                                              face amount                           doubtful or uncollectible accounts




            11b. Over 90 days old:                              292,360.04      -                               0.00 =....             $292,360.04
                                              face amount                           doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                         $293,903.04
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
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 Debtor         PF Funding, LLC                                                              Case number (If known)
                Name



 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                        Current value of
                                                                                                                        debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Collection of past due accounts receivable from IE Test,
            LLC, MON-L-2800-19                                                                                                   $252,068.97
            Nature of claim         Monies Owed
            Amount requested                             $0.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                 $252,068.97
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
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 Debtor          PF Funding, LLC                                                                                     Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $243,334.51

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $293,903.04

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $252,068.97

 91. Total. Add lines 80 through 90 for each column                                                            $789,306.52           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $789,306.52




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         PF Funding, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Equity Trust Co. Custodian
 2.1                                                                                                                     $2,166,174.74                       $0.00
       FBO                                            Describe debtor's property that is subject to a lien
       Creditor's Name
       Thomas D. Ruane, IRA
       c/o Harry Gutfleish Law,
       LLC
       3 University Plaza, Suite
       410
       Hackensack, NJ 07601
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Holiday Prime Capital, II,
 2.2                                                                                                                   $38,742,000.00                        $0.00
       LLC                                            Describe debtor's property that is subject to a lien
       Creditor's Name
       c/o Clark Hill, PLC
       Attn: Nola R. Bencze, Esq.
       210 Carnegie Center, Suite
       102
       Princeton, NJ 08540
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
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 Debtor       PF Funding, LLC                                                                         Case number (if known)
              Name

                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



        Holiday Prime Capital, III,
 2.3                                                                                                                     $22,037,014.20                     $0.00
        LLC                                           Describe debtor's property that is subject to a lien
        Creditor's Name
        c/o Gutfleish Law, LLC
        ATTN: Harry M. Gutfleish,
        Esq.
        Three University Plaza,
        Suite 410
        Hackensack, NJ 07601
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                               $62,945,188.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       94

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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                 Case 20-22939                    Doc 1          Filed 11/23/20 Entered 11/23/20 15:42:55                                          Desc Main
                                                                  Document     Page 14 of 23
 Fill in this information to identify the case:

 Debtor name         PF Funding, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $293,395.00
           Aviation Procurement Systems, LLC                                    Contingent
           211 Perry Parkway                                                    Unliquidated
           Suite 5                                                              Disputed
           Gaithersburg, MD 20877
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No     Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $150,000.00
           Creative Capital Associates, Inc.                                    Contingent
           ATTN: Mr. Gary Honig                                                 Unliquidated
           P.O. Box 1926                                                        Disputed
           Silver Spring, MD 20915
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the            Last 4 digits of
                                                                                                      related creditor (if any) listed?                  account number, if
                                                                                                                                                         any
 4.1       Erin J. Kennedy, Esq.
           FORMAN HOLT ELIADES & RAVIN LLC                                                            Line     3.1
           80 Route 4 East
                                                                                                             Not listed. Explain
           Suite 290
           Paramus, NJ 07652


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                              0.00
Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 2
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                                                                  Document     Page 15 of 23
 Debtor       PF Funding, LLC                                                                     Case number (if known)
              Name

 5b. Total claims from Part 2                                                                       5b.   +   $            443,395.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $             443,395.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2 of 2
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                                                                  Document     Page 16 of 23
 Fill in this information to identify the case:

 Debtor name         PF Funding, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                 Case 20-22939                    Doc 1          Filed 11/23/20 Entered 11/23/20 15:42:55                  Desc Main
                                                                  Document     Page 17 of 23
 Fill in this information to identify the case:

 Debtor name         PF Funding, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Vincent J.                        15 Lafayette Court                                Holiday Prime                      D   2.2
             Galano, Jr.                       Middletown, NJ 07748                              Capital, II, LLC                   E/F
                                                                                                                                    G




    2.2      Vincent J.                        15 Lafayette Court                                Holiday Prime                      D   2.3
             Galano, Jr.                       Middletown, NJ 07748                              Capital, III, LLC                  E/F
                                                                                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 1
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re       PF Funding, LLC                                                                                  Case No.
                                                                                    Debtor(s)                 Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     5,000.00
             Prior to the filing of this statement I have received                                        $                     5,000.00
             Balance Due                                                                                  $                        0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           Wendy Galano

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     November 23, 2020                                                              /s/ Andrew J. Kelly
     Date                                                                           Andrew J. Kelly
                                                                                    Signature of Attorney
                                                                                    The Kelly Firm, P.C.
                                                                                    1011 Highway 71
                                                                                    Suite 200
                                                                                    Spring Lake, NJ 07762
                                                                                    732-449-0525 Fax: 732-449-0592
                                                                                    akelly@kbtlaw.com
                                                                                    Name of law firm




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                                                               United States Bankruptcy Court
                                                                      District of New Jersey
 In re      PF Funding, LLC                                                                              Case No.
                                                                                 Debtor(s)               Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Managing Director of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       November 23, 2020                                        /s/ Vincent Galano, Jr.
                                                                      Vincent Galano, Jr./Managing Director
                                                                      Signer/Title




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                      Aviation Procurement Systems, LLC
                      211 Perry Parkway
                      Suite 5
                      Gaithersburg, MD 20877


                      Creative Capital Associates, Inc.
                      ATTN: Mr. Gary Honig
                      P.O. Box 1926
                      Silver Spring, MD 20915


                      Equity Trust Co. Custodian FBO
                      Thomas D. Ruane, IRA
                      c/o Harry Gutfleish Law, LLC
                      3 University Plaza, Suite 410
                      Hackensack, NJ 07601


                      Erin J. Kennedy, Esq.
                      FORMAN HOLT ELIADES & RAVIN LLC
                      80 Route 4 East
                      Suite 290
                      Paramus, NJ 07652


                      Holiday Prime Capital, II, LLC
                      c/o Clark Hill, PLC
                      Attn: Nola R. Bencze, Esq.
                      210 Carnegie Center, Suite 102
                      Princeton, NJ 08540


                      Holiday Prime Capital, III, LLC
                      c/o Gutfleish Law, LLC
                      ATTN: Harry M. Gutfleish, Esq.
                      Three University Plaza, Suite 410
                      Hackensack, NJ 07601
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                                                               United States Bankruptcy Court
                                                                       District of New Jersey
 In re      PF Funding, LLC                                                                              Case No.
                                                                                  Debtor(s)              Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for PF Funding, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 November 23, 2020                                                   /s/ Andrew J. Kelly
 Date                                                                Andrew J. Kelly
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for PF Funding, LLC
                                                                     The Kelly Firm, P.C.
                                                                     1011 Highway 71
                                                                     Suite 200
                                                                     Spring Lake, NJ 07762
                                                                     732-449-0525 Fax:732-449-0592
                                                                     akelly@kbtlaw.com




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                                                               United States Bankruptcy Court
                                                                      District of New Jersey
 In re      PF Funding, LLC                                                                              Case No.
                                                                               Debtor(s)                 Chapter    7



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
       I, Vincent Galano, Jr., declare under penalty of perjury that I am the Managing Director of PF Funding, LLC,
and that the following is a true and correct copy of the resolutions adopted by the Board of Directors of said
corporation at a special meeting duly called and held on the day of , 20 .

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 7 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Vincent Galano, Jr., Managing Director of this Corporation, is authorized and
directed to execute and deliver all documents necessary to perfect the filing of a chapter 7 voluntary bankruptcy
case on behalf of the corporation; and

         Be It Further Resolved, that Vincent Galano, Jr., Managing Director of this Corporation is authorized and
directed to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform
all acts and deeds and to execute and deliver all necessary documents on behalf of the corporation in connection
with such bankruptcy case, and

        Be It Further Resolved, that Vincent Galano, Jr., Managing Director of this Corporation is authorized and
directed to employ Andrew J. Kelly, attorney and the law firm of The Kelly Firm, P.C. to represent the corporation in
such bankruptcy case."

 Date      November 23, 2020                                                 Signed   /s/ Vincent Galano, Jr.
                                                                                      Vincent Galano, Jr.




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                                                                     Resolution of Board of Directors
                                                                                    of
                                                                             PF Funding, LLC




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 7 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Vincent Galano, Jr., Managing Director of this Corporation, is authorized and
directed to execute and deliver all documents necessary to perfect the filing of a chapter 7 voluntary bankruptcy
case on behalf of the corporation; and

         Be It Further Resolved, that Vincent Galano, Jr., Managing Director of this Corporation is authorized and
directed to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform
all acts and deeds and to execute and deliver all necessary documents on behalf of the corporation in connection
with such bankruptcy case, and

        Be It Further Resolved, that Vincent Galano, Jr., Managing Director of this Corporation is authorized and
directed to employ Andrew J. Kelly, attorney and the law firm of The Kelly Firm, P.C. to represent the corporation in
such bankruptcy case.

 Date      November 23, 2020                                                     Signed /s/ Vincent Galano, Jr.


 Date      November 23, 2020                                                     Signed




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